          Case 22-60020 Document 20 Filed in TXSB on 04/21/22 Page 1 of 3




UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
KEVIN M. EPSTEIN, UNITED STATES TRUSTEE
REGION 7, SOUTHERN and WESTERN DISTRICTS OF TEXAS
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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     VICTORIA DIVISION

IN RE:                                               §
 INFOW, LLC et al.                                   §        CASE NO. 22-60020
                                                     §
                                                     §        CHAPTER 11 (Subchapter V)
                                                     §        Jointly Administered
DEBTORS.1                                            §




                UNITED STATES TRUSTEE’S WITNESS AND EXHIBIT LIST
                           FOR APRIL 22, 2022 HEARING

        Kevin M. Epstein, the United States Trustee for Region 7 (the “U.S. Trustee”) files this

Witness and Exhibit List for the hearing scheduled for Dkt. Nos. 6 and 7 on April 22, 2022 at 9:00

a.m., Central Time (or as such hearing may be continued or rescheduled, the “Hearing”).




1
 The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax identification
number are as follows: InfoW, LLC, f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a Infowars Health, LLC (no
EIN), Prison Planet TV, LLC (0005). The address for service to the Debtors is PO Box 1819, Houston, TX 77251-
1819.
         Case 22-60020 Document 20 Filed in TXSB on 04/21/22 Page 2 of 3




                                          WITNESSES

The U.S. Trustee may examine:
   1. Marc Schwartz;
   2. Richard S. Schmidt;
   3. Russell M. Nelms;
   4. Any witness called by any other party;
   5. Any witness(es) necessary to rebut the testimony of any witness(es) called or designated
      by any other party.

                                           EXHIBITS

The U.S. Trustee may offer into evidence any one or more of the following exhibits at the
Hearing:

Ex.                Description                  Offered    Objection    Admitted/    Disposition
 #                                                                        Not
                                                                        Admitted
      All exhibits presented or designated by
      any other parties for the hearing
      All rebuttal exhibits

        In accordance with the Court’s March 9, 2020 Order Adopting Hearing Protocols That
May be Implemented Under Certain Public Health or Safety Conditions (General Order 2020-4),
all exhibits listed are being filed as separate attachments to this Exhibit List.

        The U.S. Trustee reserves the right to supplement or amend this Witness and Exhibit List
at any time prior to the Hearing.

Date: April 21, 2022                                Respectfully submitted,

                                                    KEVIN M. EPSTEIN
                                                    UNITED STATES TRUSTEE

                                                    By: /s/Jayson B. Ruff
                                                    Jayson B. Ruff
                                                    Trial Attorney
                                                    Michigan Bar No. P69893
                                                    515 Rusk, Ste. 3516
                                                    Houston, TX 77002
                                                    Telephone: (713)718-4650 ext. 252
                                                    Facsimile: (713)718-4670
        Case 22-60020 Document 20 Filed in TXSB on 04/21/22 Page 3 of 3




                               CERTIFICATE OF SERVICE

I hereby certify that on April 21, 2022, I caused a true and correct copy of the foregoing UNITED
STATES TRUSTEE’S WITNESS AND EXHIBIT LIST FOR APRIL 22, 2022 HEARING
to be served upon all parties receiving electronic notice via ECF.

                                                    /s/ Jayson B. Ruff
                                                    Jayson B. Ruff
